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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

Civil Action No, 07-11693-GAO

Pedro Lopez, et al.
Plaintiffs

V.

City of Lawrence, et al.

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DEFENDANT CITY OF LAWRENCE’S PRE-TRIAL MEMORANDUM

Pursuant to Local Rule 16.5(D), the Defendant City of Lawrence (“Lawrence”) submits
the following Pre-Trial Memorandum and states as follows:

I, CONCISE SUMMARY OF THE EVIDENCE

The trial of this matter, scheduled for July 12, 2010, will address the issue of liability.
If Lawrence’s is determined at that time, a separate proceeding will be held for the purpose of
determining any and all remedies.

Lawrence contends that the evidence will show, through the Parties’ expert witnesses,
that the promotional examination for police sergeant, developed and administered by the
Commonwealth of Massachusetts Human Resources Division (“HRD”), neither creates nor
results in any disparate impact upon the participants.

AS the administrator of the examination, HRD has the statutory authority to make and
amend rules which shall regulate the recruitment, selection, training and employment of persons

for Civil Service positions.” GL .31 § 3.

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The statistical evidence, as it applies to Lawrence, will clearly demonstrate that there was
no adverse impact and no violation of wither EEOC regulations or Title VI. Though Lawrence
may, under statutory authority, develop and administer alternative testing methods, it is not
obligated or mandated to do so. Lawrence disputes the premise that the current examination has
caused any disparate impact on minority sergeant candidates in Lawrence. Like its some of its
co-defendants, Lawrence is in the unenviable position of having to demonstrate that an
examination that was developed by another entity (HRD) is valid.

Lawrence’s Plaintiffs assert their inability to acquire a higher grade on the promotional
examination for sergeant is the result of their minority status.

However, the Plaintiffs cannot show or provide any evidence to support this broad
contention. They will be unable to provide evidence of any discriminatory practices occurring
within the Lawrence Police Department, either by their superiors or the Chief of Police, who is
also a minority,

The evidence will show that the 2006 HRD examination was valid and job related.
Lawrence was in full compliance with civil service law and all relevant collective bargaining
agreements with respect to the promotion of officers and acted in good faith at all times in its

selection of officers for promotion as a result of the use of said examination.

I]. STATEMENT OF FACTS NOT IN GENUINE DISPUTE

Plaintiffs decline to enter into any stipulation of facts.

HI. CONTESTED ISSUES OF FACT

(1) Whether the promotional examination for sergeant had a discriminatory

impact;

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(2) Whether the City of Lawrence’s reliance upon the promotional examination for
sergeant, that was developed and administered by HRD, was reasonable;
(3) Whether the City of Lawrence was mandated or obligated to develop an
alternative method of testing.
IV. JURISDICTIONAL QUESTIONS

The City of Lawrence refers to and incorporates herein, the Pre-Trial
Memorandum of the City of Boston, with reference to the Defendants Motion to Dismiss
that was previously filed with the Court.

Lawrence further submits that the Plaintiffs specific to Lawrence have failed to
exhaust their administrative remedies,
V. PENDING MOTIONS

The municipal defendants presently have a Motion in Limine to preclude certain
expert testimony from Plaintiff's experts, Dr. Joel Wiesen and Dr. Cassie Fields. The
City of Worcester has a pending Motion to Dismiss the Plaintiffs’ Seventh Amended
Complaint. Plaintiffs presently have a Motion to Modify a Proposed Seventh Amended
Complaint.
VI. ISSUES OF LAW
(1) Whether the promotional exams are valid and job related under industry standards
and EEOC guidelines;
(2) Whether it was reasonable for the Defendant City of Lawrence to rely upon the
promotional examinations that were developed and administered by the Commonwealth

of Massachusetts Human Resources Division (HRD).

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(3) | Whether the Defendant City of Lawrence was obligated to seek, develop or apply
alternative methods of testing that are independent from those methods of testing
previously and currently provided for by the Commonwealth of Massachusetts’ Human
Resources Division;

Whether the promotional examination for sergeant had an adverse impact, as that
examination applies to the City of Lawrence.
VIL = ADDITIONAL MATTERS

The Defendant City of Lawrence has engaged in some cursory settlement
discussions with the Plaintiffs. However, the Defendant Lawrence is on the brink of :
receivership and currently operates by a Special Act of the Commonwealth’s Great and
General Court, passed in April of 2010. The Act allowed Lawrence to deficit-borrow a
limited amount of funds, in order to continue its daily operation and provision of
essential municipal services. The special legislation provided for the appointment of a
fiscal overseer with broad powers, who reports to the Governor’s Secretary of
Administration and Finance. In short, Lawrence’s financial destiny is in limbo and any
settlement of a financial nature requires the overseer’s approval.
VII, LENGTH OF TRIAL

It is estimated by all parties that the length of trial will be two (2) weeks.
IX. WITNESSES
The Lawrence Plaintiffs;
Sally McNeely, Massachusetts HRD;
Paul Dieti, Massachusetts HRD;
Frank Bonet, Personnel Director, City of Lawrence;
John Romero, Chief of Police, City of Lawrence;

Jacinto Silva, Defendants’ Expert;
James Outzz, Defendants’ Expert;

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xX, EXHIBITS
(1) All documents listed in the expert reports of James Outzz, Ph.D., dated
February 9, 2009 and May 28, 2010;
(2) All documents listed in the expert reports of Jacinto Silva, Ph.D., dated
February 9, 2009 and May 28, 2010;
(3) All documents produced by HRD;
(4) Personnel Records of the Lawrence Plaintiffs;
(5) Records provided to Lawrence through the discovery process;
(6) ‘The Defendant City of Lawrence reserves its right to supplement this
Exhibit list up to and including at the time of trial. .
Respectfully submitted,

Defendant
City of Lawrence, Massachusetts,

By its attorney,

/s/ Richard J. D’Agostina

. Richard J. D’Agostino
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DATE; June 29, 2010

